Table 1: Cases in which the government recommended a probation sentence without home detention 1

    Defendant         Case Number                Offense of Conviction             Government Recommendation               Sentence Imposed
    Name
    Morgan-Lloyd,     1:21-CR-00164-RCL          40 U.S.C. § 5104(e)(2)(G)         36 months’ probation                    36 months’ probation
    Anna                                                                           40 hours’ community service             120 hours’ community service
                                                                                   $500 restitution                        $500 restitution
    Ehrke, Valerie    1:21-CR-00097-PLF          40 U.S.C. § 5104(e)(2)(G)         36 months’ probation                    36 months’ probation
                                                                                   40 hours’ community service             120 hours’ community service
                                                                                   $500 restitution                        $500 restitution
    Bissey, Donna     1:21-CR-00165-TSC          40 U.S.C. § 5104(e)(2)(G)         36 months’ probation                    14 days’ incarceration
                                                                                   40 hours’ community service             60 hours’ community service
                                                                                   $500 restitution                        $500 restitution
    Hiles, Jacob      1:21-CR-00155-ABJ          40 U.S.C. § 5104(e)(2)(G)         36 months’ probation                    24 months’ probation
                                                                                   60 hours’ community service             60 hours’ community service
                                                                                   $500 restitution                        $500 restitution
    Wangler,          1:21-CR-00365-DLF          40 U.S.C. § 5104(e)(2)(G)         36 months’ probation                    24 months’ probation
    Douglas                                                                        40 hours’ community service             60 hours’ community service
                                                                                   $500 restitution                        $500 restitution
    Harrison, Bruce   1:21-CR-00365-DLF          40 U.S.C. § 5104(e)(2)(G)         48 months’ probation                    24 months’ probation
                                                                                   40 hours’ community service             60 hours’ of community service
                                                                                   $500 restitution                        $500 restitution




1
  Early in this investigation, the Government made a very limited number of plea offers in misdemeanor cases that included an agreement to recommend probation
in United States v. Anna Morgan-Lloyd, 1:21-cr-00164(RCL); United States v. Valerie Elaine Ehrke, 1:21-cr-00097(PFF); United States v. Donna Sue Bissey, 1:21-
cr-00165(TSC), United States v. Douglas K. Wangler, 1:21-cr-00365(DLF), and United States v. Bruce J. Harrison, 1:21-cr-00365(DLF). The government is
abiding by its agreements in those cases, but has made no such agreement in this case. Cf. United States v. Rosales-Gonzales, 801 F.3d 1177, 1183 (9th Cir. 2015)
(no unwarranted sentencing disparities under 18 U.S.C. § 3553(a)(6) between defendants who plead guilty under a “fast-track” program and those who do not given
the “benefits gained by the government when defendants plead guilty early in criminal proceedings”) (citation omitted).

                                                                               1
Table 2: Cases in which the government recommended a probation sentence with home detention

 Defendant         Case Number            Offense of Conviction           Government Recommendation     Sentence Imposed
 Name
 Bustle, Jessica   1:21-CR-00238-TFH      40 U.S.C. § 5104(e)(2)(G)       3 months’ home detention      2 months’ home detention
                                                                          36 months’ probation          24 months’ probation
                                                                          40 hours’ community service   40 hours’ community service
                                                                          $500 restitution              $500 restitution
 Bustle, Joshua    1:21-CR-00238-TFH      40 U.S.C. § 5104(e)(2)(G)       30 days’ home detention       30 days’ home detention
                                                                          36 months’ probation          24 months’ probation
                                                                          40 hours’ community service   40 hours’ community service
                                                                          $500 restitution              $500 restitution
 Doyle, Danielle   1:21-CR-00324-TNM 40 U.S.C. § 5104(e)(2)(G)            2 months’ home detention      2 months’ probation
                                                                          36 months’ probation          $3,000 fine
                                                                          60 hours’ community service   $500 restitution
                                                                          $500 restitution
 Bennett,          1:21-CR-00227-JEB      40 U.S.C. § 5104(e)(2)(G)       3 months’ home detention      3 months’ home detention
 Andrew                                                                   36 months’ probation          24 months’ probation
                                                                          60 hours’ community service   80 hours’ community service
                                                                          $500 restitution              $500 restitution
 Mazzocco,         1:21-CR-00054-TSC      40 U.S.C. § 5104(e)(2)(G)       3 months’ home detention      45 days’ incarceration
 Matthew                                                                  36 months’ probation          60 hours’ community service
                                                                          60 hours’ community service   $500 restitution
                                                                          $500 restitution
 Rosa, Eliel       1:21-CR-00068-TNM 40 U.S.C. § 5104(e)(2)(G)            30 days’ home detention       12 months’ probation
                                                                          36 months’ probation          100 hours’ community service
                                                                          60 hours’ community service   $500 restitution
                                                                          $500 restitution




                                                                      2
Gallagher,          1:21-CR-00041-CJN   40 U.S.C. § 5104(e)(2)(G)       30 days’ home detention       24 months’ probation
Thomas                                                                  36 months’ probation          60 hours’ community service
                                                                        Fine                          $500 restitution
                                                                        60 hours’ community service
                                                                        $500 restitution
Vinson, Thomas      1:21-CR-00355-      40 U.S.C. § 5104(e)(2)(G)       3 months’ home detention      5 years’ probation
                    RBW                                                 3 years’ probation            $5,000 fine
                                                                        60 hours’ community service   120 hours’ community service
                                                                        $500 restitution              $500 restitution
Dillon, Brittiany   1:21-CR-00360-DLF   40 U.S.C. § 5104(e)(2)(D)       3 months’ home detention      2 months’ home detention
                                                                        36 months’ probation          36 months’ probation
                                                                        60 hours’ community service   $500 restitution
                                                                        $500 restitution
Sanders,            1:21-CR-00384-CJN   40 U.S.C. § 5104(e)(2)(G)       2 months’ home detention      36 months’ probation
Jonathan                                                                36 months’ probation          60 hours’ community service
                                                                        60 hours’ community service   $500 restitution
                                                                        $500 restitution
Fitchett, Cindy     1:21-CR-00041-CJN   40 U.S.C. § 5104(e)(2)(G)       2 months’ home detention      30 days’ home detention
                                                                        36 months’ probation          36 months’ probation
                                                                        60 hours’ community service   60 hours’ community service
                                                                        $500 restitution              $500 restitution
Sweet, Douglas      1:21-CR-00041-CJN   40 U.S.C. § 5104(e)(2)(G)       3 months’ home detention      30 days’ home detention
                                                                        36 months’ probation          36 months’ probation
                                                                        60 hours’ community service   60 hours’ community service
                                                                        $500 restitution              $500 restitution
Cordon, Sean        1:21-CR-00269-TNM 40 U.S.C. § 5104(e)(2)(G)         3 months’ home detention      2 months’ probation
                                                                        36 months’ probation          $4000 fine
                                                                        60 hours’ community service   $500 restitution
                                                                        $500 restitution




                                                                    3
Wilkerson, John   1:21-CR-00302-CRC   40 U.S.C. § 5104(e)(2)(G)       2 months’ home detention      36 months’ probation
IV                                                                    36 months’ probation          $2500 fine
                                                                      60 hours’ community service   60 hours’ community service
                                                                      $500 restitution              $500 restitution
Jones, Caleb      1:21-CR-00321-JEB   40 U.S.C. § 5104(e)(2)(G)       3 months’ home detention      2 months’ home detention
                                                                      36 months’ probation          24 months’ probation
                                                                      60 hours’ community service   100 hours’ community service
                                                                      $500 restitution              $500 restitution
Brown, Terry      1:21-CR-00041-CJN   40 U.S.C. § 5104(e)(2)(G)       45 days’ home detention       30 days’ home detention
                                                                      36 months’ probation          36 months’ probation
                                                                      60 hours’ community service   60 hours’ community service
                                                                      $500 restitution              $500 restitution
Wrigley,          1:21-CR-00042-ABJ   40 U.S.C. § 5104(e)(2)(G)       2 months’ home detention      18 months’ probation
Andrew                                                                36 months’ probation          $2000 fine
                                                                      60 hours’ community service   60 hours’ community service
                                                                      $500 restitution              $500 restitution
Parks, Jennifer   1:21-CR-00363-CJN   40 U.S.C. § 5104(e)(2)(G)       30 days’ home detention       24 months’ probation
                                                                      36 months’ probation          60 hours’ community service
                                                                      60 hours’ community service   $500 restitution
                                                                      $500 restitution
Reimler,          1:21-CR-00239-      40 U.S.C. § 5104(e)(2)(G)       2 months’ home detention      30 days’ home detention
Nicholas          RDM                                                 36 months’ probation          36 months’ probation
                                                                      60 hours’ community service   60 hours’ community service
                                                                      $500 restitution              $500 restitution
Miller, Brandon   1:21-CR-00266-TSC   40 U.S.C. § 5104(e)(2)(G)       3 months’ home detention      20 days’ incarceration
                                                                      36 months’ probation          60 hours’ community service
                                                                      60 hours’ community service   $500 restitution
                                                                      $500 restitution
Miller,           1:21-CR-00266-TSC   40 U.S.C. § 5104(e)(2)(G)       2 months’ home detention      14 days’ incarceration
Stephanie                                                             36 months’ probation          60 hours’ community service
                                                                      60 hours’ community service   $500 restitution
                                                                      $500 restitution
Hatley, Andrew    1:21-CR-00098-TFH   40 U.S.C. § 5104(e)(2)(G)       2 months’ home detention      36 months’ probation
                                                                      36 months’ probation          $500 restitution
                                                                      60 hours’ community service
                                                                      $500 restitution

                                                                  4
Pert, Rachael     1:21-CR-00139-TNM 18 U.S.C. § 1752(a)(1)            3 months’ home detention      24 months’ probation
                                                                      24 months’ probation          100 hours’ community service
                                                                      40 hours’ community service   $500 restitution
                                                                      $500 restitution
Winn, Dana        1:21-CR-00139-TNM 18 U.S.C. § 1752(a)(1)            3 months’ home detention      10 days’ incarceration (weekends)
                                                                      24 months’ probation          12 months’ probation
                                                                      40 hours’ community service   100 hours’ community service
                                                                      $500 restitution              $500 restitution
Wickersham,       1:21-CR-00606-RCL   40 U.S.C. § 5104(e)(2)(G)       4 months’ home detention      3 months’ home detention
Gary                                                                  36 months’ probation          36 months’ probation
                                                                      60 hours’ community service   $2000 fine
                                                                      $500 restitution              $500 restitution
Schwemmer,        1:21-CR-00364-DLF   40 U.S.C. § 5104(e)(2)(G)       30 days’ home detention       24 months’ probation
Esther                                                                36 months’ probation          60 hours’ community service
                                                                      60 hours’ community service   $500 restitution
                                                                      $500 restitution
Kelly, Kenneth    1:21-CR-00331-CKK   40 U.S.C. § 5104(e)(2)(G)       2 months’ home detention      2 months’ home detention
                                                                      36 months’ probation          12 months’ probation
                                                                      60 hours’ community service   $500 restitution
                                                                      $500 restitution
Straka, Brandon   1:21-cr-00579-DLF   40 U.S.C. § 5104(e)(2)(D)       4 months’ home detention      3 months’ home detention
                                                                      36 months’ probation          36 months’ probation
                                                                      60 hours’ community service   $5000 fine
                                                                      $500 restitution              60 hours’ community service
                                                                                                    $500 restitution
Sizer, Julia      1:21-CR-00621-CRC   40 U.S.C. § 5104(e)(2)(G)       2 months’ home detention      12 months’ probation
                                                                      36 months’ probation          $2,000 fine
                                                                      60 hours’ community service   $500 restitution
                                                                      $500 restitution
Blauser,          1:21-CR-00386-TNM 40 U.S.C. § 5104(e)(2)(G)         3 months’ home detention      $500 fine
William                                                               36 months’ probation          $500 restitution
                                                                      60 hours’ community service
                                                                      $500 restitution




                                                                  5
Barnard,           1:21-CR-00235-RC    40 U.S.C. §                  30 days’ home detention        30 days’ home detention
Richard                                5104(e)(2)(G)                36 months’ probation           12 months’ probation
                                                                    60 hours’ community service    60 hours’ community service
                                                                    $500 restitution               $500 restitution
Witcher, Jeffrey   1:21-CR-00235-RC    18 U.S.C. § 1752(a)(1)       2 months’ home detention       12 months’ probation
                                                                    36 months’ probation           60 hours’ community service
                                                                    60 hours’ community service    $500 restitution
                                                                    $500 restitution
McAlanis,          1:21-CR-00516-DLF   40 U.S.C. §                  2 months’ home detention       24 months’ probation
Edward                                 5104(e)(2)(G)                36 months’ probation           60 hours’ community service
                                                                    60 hours’ community service    $500 restitution
                                                                    $500 restitution
Lollis, James      1:21-CR-00671-BAH   40 U.S.C. §                  3 months’ home detention       3 months’ home detention
                                       5104(e)(2)(G)                36 months’ probation           36 months’ probation
                                                                    100 hours’ community service   100 hours’ community service
                                                                    $500 restitution               $500 restitution
Schubert, Amy      1:21-CR-00588-ABJ   40 U.S.C. §                  3 months’ home detention       18 months’ probation
                                       5104(e)(2)(G)                36 months’ probation           $2000 fine
                                                                    60 hours’ community service    100 hours’ community service
                                                                    $500 restitution               $500 restitution
Schubert, John     1:21-CR-00587-ABJ   40 U.S.C. §                  2 months’ home detention       18 months’ probation
                                       5104(e)(2)(G)                36 months’ probation           $1500 fine
                                                                    60 hours’ community service    100 hours’ community service
                                                                    $500 restitution               $500 restitution
Orangias,          1:21-CR-00265-CKK   40 U.S.C. §                  3 months’ home detention       3 months’ home detention
Michael                                5104(e)(2)(G)                36 months’ probation           36 months’ probation
                                                                    $500 restitution               $500 restitution
Quick, Michael     1:21-CR-00201-DLF   40 U.S.C. §                  3 months’ home detention       36 months’ probation
                                       5104(e)(2)(G)                36 months’ probation           $1000 fine
                                                                    $500 restitution               60 hours’ community service
                                                                                                   $500 restitution
Quick, Stephen     1:21-CR-00201-DLF   40 U.S.C. §                  2 months’ home detention       24 months’ probation
                                       5104(e)(2)(G)                36 months’ probation           $1000 fine
                                                                    $500 restitution               60 hours’ community service
                                                                                                   $500 restitution


                                                                6
Reda, Kenneth     1:21-CR-00452-TFH     40 U.S.C. §                  2 months’ home detention           2 months’ home detention
                                        5104(e)(2)(G)                36 months’ probation               36 months’ probation
                                                                     60 hours’ community service        60 hours’ community service
                                                                     $500 restitution                   $500 restitution
McCreary,         1:21-CR-00125-BAH     18 U.S.C. § 1752(a)(1)       3 months’ home detention           42 days’ intermittent incarceration
Brian                                                                36 months’ probation               (condition of probation)
                                                                     60 hours’ community service        2 months’ home detention
                                                                     $500 restitution                   36 months’ probation
                                                                                                        $2,500 fine
                                                                                                        $500 restitution
Colbath, Paul     1:21-CR-00650-RDM     40 U.S.C. §                  3 months’ home detention           30 day’s home detention
                                        5104(e)(2)(G)                36 months’ probation               36 months’ probation
                                                                     60 hours’ community service        60 hours’ community service
                                                                     $500 restitution                   $500 restitution
Lewis, Jacob      1:21-CR-00100-CRC     40 U.S.C. §                  2 months’ home detention           24 months’ probation
                                        5104(e)(2)(G)                36 months’ probation               $3000 fine
                                                                     60 hours’ community service        60 hours’ community service
                                                                     $500 restitution                   $500 restitution
Lentz, Nicholes   1:22-CR-00053-RDM     18 U.S.C. § 1752(a)(1)       2 months’ home detention           1 month home detention
                                                                     36 months’ probation               36 months’ probation
                                                                                                        100 hours’ community service
                                                                                                        $500 restitution
Daughtry,         1:21-CR00141-RDM      18 U.S.C. § 1752(a)(1)       4 month’s home detention           60 days’ home detention
Michael                                                              36 months’ probation               36 months’ probation
                                                                     $500 restitution                   $500 restitution
Juran, John       1:21-CR-00419-TFH     40 U.S.C. §                  2 months’ home detention           2 months’ home detention
                                        5104(e)(2)(G)                36 months’ probation               36 months’ probation
                                                                     60 hours’ community service        $500 fine
                                                                     $500 restitution                   $500 restitution
Genco, Raechel    1:22-CR-00062 - JMC   40 U.S.C. §                  30 days’ home detention            12 months’ probation
                                        5104(e)(2)(G)                36 months’ probation               60 hours’ community service
                                                                     60 hours’ community service        $500 restitution
                                                                     $500 restitution
Macrae,           1:22-CR-00181 - JEB   40 U.S.C. §                  4 months’ home detention as part   12 months’ probation
Douglas                                 5104(e)(2)(G)                of a 36 month term of probation    150 hours’ community service
Farquhar                                                             60 hours’ community service        $500 restitution

                                                                 7
                                                                           $500 restitution


Table 3: Cases in which the government recommended a sentence of incarceration
 Defendant         Case Number             Offense of Conviction            Government Recommendation       Sentence Imposed
 Name
 Curzio, Michael   1:21-CR-00041-CJN       40 U.S.C. § 5104(e)(2)(G)        6 months’ incarceration (time   6 months’ incarceration (time
                                                                            served)                         served)
                                                                                                            $500 restitution
 Hodgkins, Paul    1:21-CR-00188-RDM       18 U.S.C. § 1512(c)(2)           18 months’ incarceration        8 months’ incarceration
                                                                                                            24 months’ supervised release
                                                                                                            $2000 restitution
 Dresch, Karl      1:21-CR-00071-ABJ       40 U.S.C. § 5104(e)(2)(G)        6 months’ incarceration (time   6 months’ incarceration (time
                                                                            served)                         served)
                                                                            $1000 fine                      $500 restitution
                                                                            $500 restitution
 Jancart, Derek    1:21-CR-00148-JEB       40 U.S.C. § 5104(e)(2)(D)        4 months’ incarceration         45 days’ incarceration
                                                                            $500 restitution                $500 restitution
 Rau, Erik         1:21-CR-00467-JEB       40 U.S.C. § 5104(e)(2)(D)        4 months’ incarceration         45 days’ incarceration
                                                                            $500 restitution                $500 restitution
 Hemenway,         1:21-CR-00049-TSC       40 U.S.C. § 5104(e)(2)(G)        30 days’ incarceration          45 days’ incarceration
 Edward                                                                     $500 restitution                60 hours’ community service
                                                                                                            $500 restitution
 Reeder, Robert    1:21-CR-00166-TFH       40 U.S.C. § 5104(e)(2)(G)        6 months’ incarceration         3 months’ incarceration
                                                                            $500 restitution                $500 restitution
 Bauer, Robert     1:21-CR-00049-TSC       40 U.S.C. § 5104(e)(2)(G)        30 days’ incarceration          45 days’ incarceration
                                                                            $500 restitution                60 hours’ community service
                                                                                                            $500 restitution
 Smocks, Troy      1:21-CR-00198-TSC       18 U.S.C. § 875(c)               Low end of sentencing           14 months’ incarceration
                                                                            guidelines                      36 months’ supervised release
                                                                            36 months’ supervised release
 Vinson, Lori      1:21-CR-00355-RBW       40 U.S.C. § 5104(e)(2)(G)        30 days’ incarceration          60 months’ probation
                                                                            $500 restitution                $5,000 fine
                                                                                                            120 hours’ community service
                                                                                                            $500 restitution


                                                                       8
Griffith, Jack    1:21-CR-00204-BAH   40 U.S.C. § 5104(e)(2)(G)       3 months’ incarceration         3 months’ home detention
                                                                      $500 restitution                36 months’ probation
                                                                                                      $500 restitution
Torrens, Eric     1:21-CR-00204-BAH   40 U.S.C. § 5104(e)(2)(G)       14 days’ incarceration          3 months’ home detention
                                                                      $500 restitution                36 months’ probation
                                                                                                      $500 restitution
Gruppo,           1:21-CR-00391-BAH   40 U.S.C. § 5104(e)(2)(G)       30 days’ incarceration          3 months’ home detention
Leonard                                                               $500 restitution                24 months’ probation
                                                                                                      $3,000 fine
                                                                                                      $500 restitution
Ryan, Jennifer    1:21-CR-00050-CRC   40 U.S.C. § 5104(e)(2)(G)       2 months’ incarceration         2 months’ incarceration
                                                                      $500 restitution                $1000 fine
                                                                                                      $500 restitution
Croy, Glenn       1:21-CR-00162-BAH   40 U.S.C. § 5104(e)(2)(G)       2 months’ incarceration         14 days’ community correctional
                                                                      $500 restitution                facility
                                                                                                      3 months’ home detention
                                                                                                      36 months’ probation
                                                                                                      $500 restitution
Stotts, Jordan    1:21-CR-00272-TJK   40 U.S.C. § 5104(e)(2)(G)       45 days’ incarceration          2 months’ home detention
                                                                      $500 restitution                24 months’ probation
                                                                                                      60 hours’ community service
                                                                                                      $500 restitution
Fairlamb, Scott   1:21-CR-00120-RCL   18 U.S.C. § 1512(c)(2)          44 months’ incarceration        41 months’ incarceration
                                      18 U.S.C. § 111(a)(1)           36 months’ supervised release   36 months’ supervised release
                                                                      $2000 fine                      $2000 restitution
Camper, Boyd      1:21-CR-00325-CKK   40 U.S.C. § 5104(e)(2)(G)       2 months’ incarceration         2 months’ incarceration
                                                                      $500 restitution                60 hours’ community service
                                                                                                      $500 restitution
Rukstales,        1:21-CR-00041-CJN   40 U.S.C. § 5104(e)(2)(G)       45 days’ incarceration          30 days’ incarceration
Bradley                                                               $500 restitution                $500 restitution
Cordon, Kevin     1:21-CR-00277-TNM   18 U.S.C. § 1752(a)(1)          30 days’ incarceration          12 months’ probation
                                                                      12 months’ supervised release   $4000 fine
                                                                      $500 restitution                100 hours’ community service
                                                                                                      $500 restitution
Chansley, Jacob   1:21-CR-00003-RCL   18 U.S.C. § 1512(c)(2)          51 months’ incarceration        41 months’ incarceration
                                                                      36 months’ supervised release   36 months’ supervised release

                                                                  9
                                                                    $2000 restitution               $2000 restitution
Mish, David       1:21-CR-00112-CJN   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          30 days’ incarceration
                                                                    $500 restitution                $500 restitution
Lolos, John       1:21-CR-00243-APM   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          14 days’ incarceration
                                                                    $500 restitution                $500 restitution
Scavo, Frank      1:21-CR-00254-RCL   40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          2 months’ incarceration
                                                                    $500 restitution                $5000 fine
                                                                                                    $500 restitution
Abual-Ragheb,     1:21-CR-00043-CJN   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          2 months’ home detention
Rasha                                                               $500 restitution                36 months’ probation
                                                                                                    60 hours’ community service
                                                                                                    $500 restitution
Peterson,         1:21-CR-00309-ABJ   40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          30 days’ incarceration
Russell                                                             $500 restitution                $500 restitution
Simon, Mark       1:21-CR-00067-ABJ   40 U.S.C. § 5104(e)(2)(G)     45 days’ incarceration          35 days’ incarceration
                                                                    $500 restitution                $500 restitution
Ericson,          1:21-CR-00506-TNM   40 U.S.C. § 5104(e)(2)(G)     2 months’ incarceration         20 days’ incarceration (consecutive
Andrew                                                              $500 restitution                weekends)
                                                                                                    24 months’ probation
                                                                                                    $500 restitution
Pham, Tam         1:21-CR-00109-TJK   40 U.S.C. § 5104(e)(2)(G)     2 months’ incarceration         45 days’ incarceration
Dinh                                                                $500 restitution                $1000 fine
                                                                                                    $500 restitution
Nelson,           1:21-CR-00344-JDB   40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          24 months’ probation
Brandon                                                             $500 restitution                $2500 fine
                                                                                                    50 hours’ community service
                                                                                                    $500 restitution
Markofski,        1:21-CR-00344-JDB   40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          24 months’ probation
Abram                                                               $500 restitution                $1000 fine
                                                                                                    50 hours’ community service
                                                                                                    $500 restitution
Marquez, Felipe   1:21-CR-00136-RC    18 U.S.C. § 1752(a)(2)        4 months’ incarceration         3 month’s home detention
                                                                    12 months’ supervised release   18 months’ probation
                                                                    $500 restitution                $500 restitution
Meredith,         1:21-CR-00159-ABJ   18 U.S.C. § 875(c)            Midrange of 37-46 months’       28 months’ incarceration
Cleveland                                                           incarceration                   36 months’ supervised release

                                                               10
                                                                     36 months’ supervised release
Sorvisto, Jeremy   1:21-CR-00320-ABJ   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          30 days’ incarceration
                                                                     $500 restitution                $500 restitution
Mariotto,          1:21-CR-00094-RBW   40 U.S.C. § 5104(e)(2)(G)     4 months’ incarceration         36 months’ probation
Anthony                                                              36 months’ probation            $5000 fine
                                                                     $500 restitution                250 hours’ community service
                                                                                                     $500 restitution
Courtright,        1:21-CR-00072-CRC   18 U.S.C. § 1752(a)(1)        6 months’ incarceration         30 days’ incarceration
Gracyn                                                               12 months’ supervised release   12 months’ supervised release
                                                                     60 hours’ community service     60 hours’ community service
                                                                     $500 restitution                $500 restitution
Palmer, Robert     1:21-CR-00328-TSC   18 U.S.C. § 111(a) and (b)    63 months’ incarceration        63 months’ incarceration
                                                                     36 months’ supervised release   36 months’ supervised release
                                                                     $2000 restitution               $2000 restitution
Thompson,          1:21-CR-00461-RCL   18 U.S.C. § 111(a) and (b)    48 months’ incarceration        46 months’ incarceration
Devlyn                                                               36 months’ supervised release   36 months’ supervised release
                                                                     $2000 restitution               $2000 restitution
Edwards, Gary      1:21-CR-00366-JEB   40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          12 months’ probation
                                                                     24 months’ probation            $2500 fine
                                                                     $500 restitution                200 hours’ of community service
                                                                                                     $500 restitution
Tutrow, Israel     1:21-CR-00310-ABJ   40 U.S.C. § 5104(e)(2)(G)     2 months’ incarceration         2 months’ home detention
                                                                     $500 restitution                36 months’ probation
                                                                                                     $500 restitution
Ridge IV,          1:21-CR-00406-JEB   18 U.S.C. § 1752(a)(1)        45 days’ incarceration          14 days’ consecutive incarceration
Leonard                                                              12 months’ supervised release   12 months’ supervised release
                                                                     60 hours’ community service     $1000 fine
                                                                     $500 restitution                100 hours’ community service
                                                                                                     $500 restitution
Perretta,          1:21-CR-00539-TSC   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          30 days’ incarceration
Nicholas                                                             $500 restitution                $500 restitution
Vukich,            1:21-CR-00539-TSC   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          30 days’ incarceration
Mitchell                                                             $500 restitution                $500 restitution
Spencer,           1:21-CR-00147-CKK   40 U.S.C. § 5104(e)(2)(G)     3 months’ incarceration         3 months’ incarceration
Virginia                                                             36 months’ probation            $500 restitution
                                                                     $500 restitution

                                                                11
Kostolsky,        1:21-CR-00197-DLF   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          30 days’ home detention
Jackson                                                             $500 restitution                36 months’ probation
                                                                                                    $500 restitution
Rusyn, Michael    1:21-CR-00303-ABJ   40 U.S.C. § 5104(e)(2)(G)     45 days’ incarceration          2 months’ home detention
                                                                    $500 restitution                24 months’ probation
                                                                                                    $2000 fine
                                                                                                    $500 restitution
Tryon, William    1:21-CR-00420-RBW   18 U.S.C. § 1752(a)(1)        30 days’ incarceration          50 days’ incarceration
                                                                    12 months’ supervised release   12 months’ supervised release
                                                                    $500 restitution                $1000 fine
                                                                                                    $500 restitution
Sells, Tanner     1:21-CR-00549-ABJ   40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          3 months’ home detention
                                                                    36 months’ probation            24 months’ probation
                                                                    60 hours’ community service     $1500 fine
                                                                    $500 restitution                50 hours’ community service
                                                                                                    $500 restitution
Walden, Jon       1:21-CR-00548-DLF   40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          30 days’ home detention
                                                                    60 hours’ community service     36 months’ probation
                                                                    $500 restitution                60 hours’ community service
                                                                                                    $500 restitution
Prado, Nicole     1:21-CR-00403-RC    40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          2 months’ 12-hour curfew
                                                                    36 months’ probation            12 months’ probation
                                                                    60 hours’ community service     $742 fine
                                                                    $500 restitution                60 hours’ community service
                                                                                                    $500 restitution
Williams, Vic     1:21-CR-00388-RC    40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          2 months’ home detention
                                                                    36 months’ probation            12 months’ probation
                                                                    60 hours’ community service     $1500 fine
                                                                    $500 restitution                60 hours’ community service
                                                                                                    $500 restitution
Wiedrich, Jacob   1:21-CR-00581-TFH   40 U.S.C. § 5104(e)(2)(G)     3 months’ incarceration         3 months’ home detention
                                                                    36 months’ probation            36 months’ probation
                                                                    $500 restitution                100 hours’ community service
                                                                                                    $500 restitution
Stepakoff,        1:21-CR-00096-RC    40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          2 months’ home detention
Michael                                                             36 months’ probation            12 months’ probation

                                                               12
                                                                     60 hours’ community service     $742 fine
                                                                     $500 restitution                60 hours’ community service
                                                                                                     $500 restitution
Scirica,          1:21-CR-00457-CRC   40 U.S.C. § 5104(e)(2)(G)      15 days’ incarceration          15 days’ incarceration
Anthony                                                              $500 restitution                $500 fine
                                                                                                     $500 restitution
Crase, Dalton     1:21-CR-00082-CJN   40 U.S.C. § 5104(e)(2)(G)      30 days’ incarceration          15 days’ intermittent incarceration
                                                                     36 months’ probation            (condition of probation)
                                                                     60 hours’ community service     36 months’ probation
                                                                     $500 restitution                60 hours’ community service
                                                                                                     $500 restitution
Williams, Troy    1:21-CR-00082-CJN   40 U.S.C. § 5104(e)(2)(G)      30 days’ incarceration          15 days’ intermittent incarceration
                                                                     36 months’ probation            (condition of probation)
                                                                     60 hours’ community service     36 months’ probation
                                                                     $500 restitution                60 hours’ community service
                                                                                                     $500 restitution
Languerand,       1:21-CR-00353-JDB   18 U.S.C. § 111 (a) and        51 months’ incarceration        44 months’ incarceration
Nicholas                              (b)                            36 months’ supervised release   24 months’ supervised release
                                                                     $2000 restitution               60 hours’ community service
                                                                                                     $2000 restitution
Wilson, Zachary   1:21-CR-00578-APM   40 U.S.C. § 5104(e)(2)(G)      14 days’ incarceration          45 days’ home detention
                                                                     36 months’ probation            24 months’ probation
                                                                     $500 restitution                60 hours’ community service
                                                                                                     $500 restitution
Wilson, Kelsey    1:21-CR-00578-APM   40 U.S.C. § 5104(e)(2)(G)      14 days’ incarceration          30 days’ home detention
                                                                     36 months’ probation            24 months’ probation
                                                                     $500 restitution                60 hours’ community service
                                                                                                     $500 restitution
McAuliffe,        1:21-CR-00608-RCL   40 U.S.C. § 5104(e)(2)(G)      14 days’ incarceration          2 months’ home detention
Justin                                                               36 months’ probation            36 months’ probation
                                                                     $500 restitution                $500 restitution
Williams,         1:21-CR-00045-DLF   40 U.S.C. § 5104(e)(2)(G)      30 days’ incarceration          24 months’ probation
Andrew                                                               24 months’ probation            60 hours’ community service
                                                                     60 hours’ community service     $500 restitution
                                                                     $500 restitution


                                                                13
Leffingwell,        1:21-CR-00005-ABJ   18 U.S.C. § 111(a)(1)         27 months’ incarceration        6 months’ incarceration
Mark                                                                  36 months’ supervised release   24 months’ supervised release
                                                                      $2000 restitution               200 hours’ community service
                                                                                                      $2,000 restitution
Wagner, Joshua      1:21-CR-00310-ABJ   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          30 days’ incarceration
                                                                      36 months’ probation            $500 restitution
                                                                      $500 restitution
Stenz, Brian        1:21-CR-00456-BAH   40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          14 days’ incarceration as a condition
                                                                      36 months’ probation            of probation
                                                                      60 hours’ community service     2 months’ home detention
                                                                      $500 restitution                36 months’ probation
                                                                                                      $2500 fine
                                                                                                      $500 restitution
Schornak,           1:21-CR-00278-BAH   18 U.S.C. § 1752(a)(1)        4-6 months’ incarceration       28 days’ intermittent incarceration (2
Robert                                                                12 months’ supervised release   14-day intervals)
                                                                      60 hours’ community service     2 months’ home detention
                                                                      $500 restitution                36 months’ probation
                                                                                                      $500 restitution
Castro,             1:21-CR-00299-RBW   40 U.S.C. § 5104(e)(2)(G)     2 months’ incarceration         45 days’ incarceration
Mariposa                                                              $500 restitution                $5000 fine
Sunstrum, Traci     1:21-CR-00652-CRC   40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          30 days’ home detention
                                                                      36 months’ probation            36 months’ probation
                                                                      $500 restitution                $500 restitution
Register, Jeffrey   1:21-CR-00349-TJK   40 U.S.C. § 5104(e)(2)(G)     5 months’ incarceration         75 days’ incarceration
                                                                      $500 restitution                $500 restitution
Johnson, Adam       1:21-CR-00648-RBW   18 U.S.C. § 1752(a)(1)        90 days’ incarceration          75 days’ incarceration
                                                                      12 month’s supervised release   12 months’ supervised release
                                                                      $5000 fine                      $5000 fine
                                                                                                      200 hours’ community service
                                                                                                      $500 restitution
Howell, Annie       1:21-CR-00217-TFH   18 U.S.C. § 1752(a)(1)        60 days’ incarceration          60 days’ intermittent incarceration,
                                                                      12 month’s supervised release   to be served in 10-day installments,
                                                                      $500 restitution                as a condition of probation
                                                                                                      36 months’ probation
                                                                                                      60 hours’ community service
                                                                                                      $500 restitution

                                                                 14
Gonzalez,         1:21-CR-00115-CRC   40 U.S.C. § 5104(e)(2)(G)     3 months’ incarceration       24 months’ probation
Eduardo                                                             $500 restitution              $1000 fine
                                                                                                  $500 restitution
Wilson, Duke      1:21-CR-00345-RCL   18 U.S.C. § 1512(c)(2)        46 months’ incarceration      51 months’ incarceration
                                      18 U.S.C. § 111(a)(1)         $2000 + TBD restitution for   36 months’ supervised release
                                                                    injured officer               TBD restitution
Strong, Kevin     1:21-CR-00114-TJK   40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration        30 days’ home detention
                                                                    36 months’ probation          24 months’ probation
                                                                    $500 restitution              60 hours’ community service
                                                                                                  $500 restitution
Bonet, James      1:21-CR-00121-EGS   18 U.S.C. § 1752(a)(1)        45 days’ incarceration        3 months’ incarceration
                                                                    12 months’ probation          12 months’ probation
                                                                    $500 restitution              200 hours’ community service
                                                                                                  $500 restitution
Nalley, Verden    1:21-CR-00016-DLF   18 U.S.C. § 1752(a)(1)        14 days’ incarceration        24 months’ probation
                                                                    12 months’ probation          60 hours’ community service
                                                                    60 hours’ community service   $500 restitution
                                                                    $500 restitution
Carico, Michael   1:21-CR-00696-TJK   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration        2 months’ home detention
                                                                    36 months’ probation          24 months’ probation
                                                                    $500 restitution              $500 fine
                                                                                                  60 hours’ community service
                                                                                                  $500 restitution
Little, James     1:21-CR-00315-RCL   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration        60 days’ incarceration
                                                                    36 months’ probation          36 months’ probation
                                                                    $500 restitution              $500 restitution
Loftus, Kevin     1:21-CR-00081-DLF   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration        36 months’ probation
                                                                    36 months’ probation          60 hours’ community service
                                                                                                  $500 restitution
Smith, Jeffrey    1:21-CR-00290-RBW   40 U.S.C. § 5104(e)(2)(G)     5 months’ incarceration       90 days’ incarceration
                                                                    $500 restitution              24 months’ probation
                                                                                                  200 hours’ community service
                                                                                                  $500 restitution
Kelley, Kari      1:21-CR-00201-DLF   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration        36 months’ probation
                                                                    36 months’ probation          $500 restitution
                                                                    $500 restitution

                                                               15
Martin, Zachary    1:21-CR-00201-DLF   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          36 months’ probation
                                                                     36 months’ probation            $1000 fine
                                                                     $500 restitution                60 hours’ community service
                                                                                                     $500 restitution
Cudd, Jenny        1:21-CR-00068-TNM   18 U.S.C. § 1752(a)(1)        75 days’ incarceration          2 months’ probation
                                                                     12 months’ supervised release   $5000 fine
                                                                     $500 restitution                $500 restitution
Jackson,           1:21-CR-00484-RDM   40 U.S.C. § 5104(e)(2)(G)     2 months’ incarceration         36 months’ probation with 90 days’
Micajah                                                              36 months’ supervised release   in residential half-way house
                                                                     $500 restitution                $1,000 fine
                                                                                                     $500 restitution
Petrosh, Robert    1:21-CR-00347-TNM   18 U.S.C. § 641               4 months’ incarceration         10 days’ incarceration
                                                                     12 months’ supervised release   12 months’ supervised release
                                                                     60 hours’ community service     $1,000 fine
                                                                     $938 restitution                $938 restitution
Ivey, Bryan        1:21-CR-00267-CRC   40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          60 days’ home detention
                                                                     36 months’ probation            36 months’ probation
                                                                     $500 restitution                $500 restitution
                                                                     60 hours’ community service     60 hours’ community service

Burress, Gabriel   1:21-CR-00744-TJK   40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          45 days’ home confinement
                                                                     36 months’ probation            18 months’ probation
                                                                     $500 restitution                $500 restitution
                                                                     60 hours’ community service     60 hours’ community service

Pettit, Madison    1:21-CR-00744-TJK   40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          45 days’ home confinement
                                                                     36 months’ probation            18 months’ probation
                                                                     $500 restitution                $500 restitution
                                                                     60 hours’ community service     60 hours’ community service

Coffman,           1:21-CR-00004-CKK   26 U.S.C. § 5861(d)           Middle of SGR                   46 months’ incarceration
Lonnie                                 22 D.C. Code § 4504(a)        36 months’ probation            36 months’ supervised release
Fee, Thomas        1:21-CR-00133-JDB   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          24 months’ probation
                                                                     36 months’ probation            $500 fine
                                                                     $500 restitution                $500 restitution
                                                                     60 hours’ community service     50 hours’ community service

                                                                16
Herendeen,        1:21-CR-00278-BAH   18 U.S.C. § 1752(a)(1)        28 days’ incarceration          14 days’ incarceration
Daniel                                                              36 months’ probation            2 months’ home detention
                                                                    $500 restitution                36 months’ probation
                                                                    60 hours’ community service     $500 restitution
Zlab, Joseph      1:21-CR-00389-RBW   40 U.S.C. § 5104(e)(2)(G)     45 days’ incarceration          36 months’ probation
                                                                    36 months’ probation            $500 fine
                                                                    $500 restitution                $500 restitution
                                                                    60 hours’ community service     200 hours’ community service
Riddle, Jason     1:21-CR-00304-DLF   18 U.S.C. § 641               90 days’ incarceration          90 days’ incarceration for the § 641
                                      40 U.S.C. § 5104(e)(2)(G)     12 months’ supervised release   offense
                                                                    $754 restitution                36 months’ probation for the
                                                                                                    § 5104(e)(2)(G) offense
                                                                                                    $754 restitution
                                                                                                    60 days’ community service
Fox, Samuel       1:21-CR-00435-BAH   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          2 months’ home detention
                                                                    36 months’ probation            36 months’ probation
                                                                    $500 restitution                $2,500 fine
                                                                                                    $500 restitution
O’Brien, Kelly    1:21-CR-00633-RCL   18 U.S.C. § 1752(a)(1)        5 months’ incarceration         90 days’ incarceration
                                                                    12 months’ supervised release   12 months’ supervised release
                                                                    $500 restitution                $1,000 fine
                                                                                                    $500 restitution
Hardin, Michael   1:21-CR-00280-TJK   40 U.S.C. § 5104(e)(2)(G)     45 days’ incarceration          30 day’s home confinement
                                                                    36 months’ probation            18 months’ probation
                                                                    $500 restitution                $500 restitution
                                                                    60 hours’ community service     60 hours’ community service
Hernandez,        1:21-CR-00747-JEB   18 U.S.C. § 1752(a)(1)        45 days’ incarceration          30 days’ incarceration
Emily                                                               12 months’ supervised release   12 months’ supervised release
                                                                    $500 restitution                $500 restitution
                                                                    60 hours’ community service     80 hours’ community service
Merry, William    1:21-CR-00748-JEB   18 U.S.C. § 641               4 months’ incarceration         45 days’ incarceration
                                                                    12 months’ supervised release   9 months’ supervised release
                                                                    $500 restitution                80 hours’ community service
                                                                    60 hours’ community service
Westover, Paul    1:21-CR-00697-JEB   40 U.S.C. § 5104(e)(2)(G)     3 months’ incarceration         45 days’ incarceration
                                                                    $500 restitution                $500 restitution

                                                               17
O’Malley,          1:21-CR-00704-CRC   40 U.S.C. § 5104(e)(2)(G)     45 days’ incarceration          24 months’ probation
Timothy                                                              36 months’ probation            20 hours’ community service
                                                                     60 hours’ community service     $500 restitution
                                                                     $500 restitution
Reed, Blake        1:21-CR-00204-BAH   18 U.S.C. § 1752(a)(1)        3 months’ incarceration         42 days’ intermittent confinement
                                                                     12 months’ supervised release   3 months’ home detention
                                                                     $500 restitution                36 months’ probation
                                                                                                     $2500 fine
                                                                                                     $500 restitution
Rebegila, Mark     1:21-CR-00283-APM   40 U.S.C. § 5104(e)(2)(G)     2 months’ incarceration         30 days’ home detention
                                                                     36 months’ probation            24 months’ probation
                                                                     $500 restitution                $2000 fine
                                                                                                     60 hours’ community service
                                                                                                     $500 restitution
Watrous,           1:21-CR-00627-BAH   40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          14 days’ intermittent confinement
Richard                                                              36 months’ probation            2 months’ home detention
                                                                     60 hours’ community service     36 months’ probation
                                                                     $500 restitution                $2500 fine
                                                                                                     $500 restitution
Meteer, Clifford   1:21-CR-00630-CJN   40 U.S.C. § 5104(e)(2)(G)     75 days’ incarceration          60 days’ incarceration
                                                                     36 months’ probation            36 months’ probation
                                                                     60 hours’ community service     60 hours’ community service
                                                                     $500 restitution                $500 restitution
Conover,           1:21-CR-00743-FYP   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          30 days’ residential reentry center
Thomas                                                               36 months’ probation            36 months’ probation
                                                                     60 hours’ community service     $2500 fine
                                                                     $500 restitution                60 hours’ community service
                                                                                                     $500 restitution
Lavin, Jean        1:21-CR-00596-BAH   40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          10 days’ intermittent confinement (5
                                                                     36 months’ probation            weekends)
                                                                     $500 restitution                2 months’ home detention
                                                                                                     36 months’ probation
                                                                                                     $2500 fine
                                                                                                     $500 restitution
Krzywicki,         1:21-CR-00596-BAH   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          36 months’ probation
Carla                                                                36 months’ probation            3 months’ home detention

                                                                18
                                                                    $500 restitution                $500 restitution
Kulas, Christian   1:21-CR-00397-TFH   40 U.S.C. § 5104(e)(2)(G)    14 days’ incarceration          6 months’ probation
                                                                    36 months’ probation            2 months’ home detention
                                                                    60 hours’ community service     $500 restitution
                                                                    $500 restitution
Kulas, Mark        1:21-CR-00693-TFH   40 U.S.C. § 5104(e)(2)(G)    14 days’ incarceration          6 months’ probation
                                                                    36 months’ probation            2 months’ home detention
                                                                    60 hours’ community service     $500 restitution
                                                                    $500 restitution
Von Bernewitz,     1:21-CR-00307-CRC   40 U.S.C. § 5104(e)(2)(G)    14 days’ incarceration          60 days’ home detention
Eric                                                                36 months’ probation            24 months’ probation
                                                                    60 hours’ community service     $1000 fine
                                                                    $500 restitution                $500 restitution
Von Bernewitz,     1:21-CR-00307-CRC   40 U.S.C. § 5104(e)(2)(G)    45 days’ incarceration          30 days’ incarceration
Paul                                                                36 months’ probation            $500 restitution
                                                                    60 hours’ community service
                                                                    $500 restitution
Ballesteros,       1:21-CR-00580-DLF   40 U.S.C. § 5104(e)(2)(G)    14 days’ incarceration          36 months’ probation
Robert                                                              24 months’ probation            40 hours’ community service
                                                                    60 hours’ community service     $500 restitution
                                                                    $500 restitution
Sarko, Oliver      1:21-CR-00591-CKK   40 U.S.C. § 5104(e)(2)(G)    30 days’ incarceration          30 days’ incarceration
                                                                    36 months’ probation            36 months’ probation
                                                                    60 hours’ community service     $500 restitution
                                                                    $500 restitution
Vuksanaj,          1:21-CR-00620-BAH   40 U.S.C. § 5104(e)(2)(G)    3 months’ incarceration         42 days’ intermittent confinement (3,
Anthony                                                             36 months’ probation            14-day periods)
                                                                    60 hours’ community service     3 months’ home detention
                                                                    $500 restitution                36 months’ probation
                                                                                                    $2000 fine
                                                                                                    $500 restitution
Creek, Kevin       1:21-CR-00645-DLF   18 U.S.C. § 111(a)(1)        27 months’ incarceration        27 months’ incarceration
                                                                    36 months’ supervised release   12 months’ supervised release
                                                                    $2000 restitution               $2000 restitution
Peart, Willard     1:21-CR-00662-PLF   40 U.S.C. § 5104(e)(2)(G)    30 days’ incarceration          2 months’ home detention
                                                                    36 months’ probation            36 months’ probation

                                                               19
                                                                   60 hours’ community service     240 hours’ community service
                                                                   $500 restitution                $500 fine
                                                                                                   $500 restitution
Webler,          1:21-CR-00741-DLF   40 U.S.C. § 5104(e)(2)(G)     3 months’ incarceration         45 days’ incarceration
Matthew                                                            $500 restitution                $500 restitution
Mostofsky,       1:21-CR-00138-JEB   18 U.S.C. § 641               15 months’ incarceration        8 months’ incarceration
Aaron                                18 U.S.C. § 231               36 months’ supervised release   12 months’ supervised release on
                                     (a)(3)                        $2000 restitution               each count to run concurrently
                                     18 U.S.C. § 1752(a)(1)                                        200 hours’ community service
                                                                                                   $2000 restitution
Entrekin,        1:21-CR-00686-FYP   40 U.S.C. § 5104(e)(2)(G)     105 days’ incarceration         45 days’ incarceration
Nathan                                                             36 months’ probation            36 months’ probation
                                                                   60 hours’ community service     60 hours’ community service
                                                                   $500 restitution                $500 restitution
Kidd, Nolan      1:21-CR-00429-CRC   40 U.S.C. § 5104(e)(2)(G)     90 days’ incarceration          45 days’ incarceration
                                                                   36 months’ probation            $500 restitution
                                                                   60 hours’ community service
                                                                   $500 restitution
Baker, Stephen   1:21-CR-00273-TFH   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          9 days’ intermittent confinement
                                                                   $500 restitution                24 months’ probation
                                                                                                   $500 restitution
McDonald,        1:21-CR-00429-CRC   40 U.S.C. § 5104(e)(2)(G)     3 months’ incarceration         21 days’ incarceration
Savannah                                                           36 months’ probation            $500 restitution
                                                                   60 hours’ community service
                                                                   $500 restitution
Honeycutt,       1:22-CR-00050-CJN   40 U.S.C. § 5104(e)(2)(G)     3 months’ incarceration         3 months’ incarceration
Adam                                                               36 months’ probation            $500 restitution
                                                                   60 hours’ community service
                                                                   $500 restitution
Spain, Jr.,      1:21-CR-00651-DLF   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          36 months’ probation
Edward                                                             36 months’ probation            60 hours’ community service
                                                                   60 hours’ community service     $500 restitution
                                                                   $500 restitution
Kramer, Philip   1:21-CR-00413-EGS   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          30 days’ incarceration
                                                                   36 months’ probation            $2500 fine
                                                                   60 hours’ community service     100 hours’ community service

                                                              20
                                                                    $500 restitution                $500 restitution
Ehmke, Hunter     1:21-CR-00029-TSC   18 U.S.C. § 1361              4 months’ incarceration         4 months’ incarceration
                                                                    36 months’ supervised release   36 months’ supervised release
                                                                    $2,181 restitution              $2,181 restitution
Chapman,          1:21-CR-00676-RC    40 U.S.C. § 5104(e)(2)(G)     45 days’ incarceration          3 month’s home detention
Robert                                                              36 months’                      18 month’s probation
                                                                                                    $742 fine
                                                                                                    60 hours’ community service
                                                                                                    $500 restitution
Timbrook,         1:21-CR-00361-TNM   40 U.S.C. § 5104(e)(2)(G)     90 days’ incarceration          14 days’ intermittent incarceration to
Michael                                                             36 months’ probation            be served on 7 consecutive
                                                                                                    weekends, as a condition of
                                                                                                    12 months’ probation
                                                                                                    $500 restitution
Miller, Matthew   1:21-CR-00075-RDM   18 U.S.C. § 1512(c)(2)        51 months’ incarceration        33 months’ incarceration
                                      18 U.S.C. § 111(a)(1)         36 month’s supervised release   24 months’ probation
                                                                                                    $2000 restitution
                                                                                                    100 hours’ community service
Hemphill,         1:21-CR-00555-RCL   40 U.S.C. § 5104(e)(2)(G)     2 months’ incarceration         2 months’ incarceration
Pamela                                                              36 month’s probation            36 month’s probation
                                                                                                    $500 restitution
Rubenacker,       1:21-CR-00193-BAH   18 U.S.C. § 231(a)(3)         46 months’ incarceration        41 months’ incarceration
Greg                                  18 U.S.C. § 1512(c)(2)        36 months’ supervised release   36 months’ supervised release
                                      18 U.S.C. § 111(a)                                            $2000 restitution
                                      18 U.S.C. § 1752(a)(1)
                                      18 U.S.C. § 1752(a)(2)
                                      18 U.S.C. § 1752(a)(4)
                                      40 U.S.C. § 5104(e)(2)(D)
                                      40 U.S.C. § 5104(e)(2)(E)
                                      40 U.S.C. § 5104(e)(2)(F)
                                      40 U.S.C. § 5104(e)(2)(G)
Johnson, Daniel   1:21-CR-00407-DLF   18 U.S.C. § 231(a)(3)         6 months’ incarceration         4 months’ incarceration
                                                                    12 months’ supervised release   12 months’ supervised release
                                                                                                    $2000 restitution
Johnson, Daryl    1:21-CR-00407-DLF   18 U.S.C. § 231(a)(3)         90 days’ incarceration          30 days’ incarceration
                                                                    12 months’ supervised release   12 months’ supervised release

                                                               21
                                                                                                    $2000 fine
                                                                                                    $2000 restitution
Buhler, Janet     1:21-CR-00510-CKK   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          30 days’ incarceration
                                                                    36 months’ supervised release   36 months’ supervised release
                                                                                                    $500 restitution
Tagaris, Jody     1:21-CR-00368-JDB   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          24 months’ probation
                                                                    36 months’ probation            $2000 fine
                                                                    $500 restitution                $500 restitution
                                                                                                    60 hours’ community service
Heinl, Jennifer   1:21-CR-00370-EGS   40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration          14 days’ incarceration
                                                                    36 months’ probation            24 months’ probation
                                                                    $500 restitution                $500 restitution
Sywak, William    1:21-CR-00494-RC    40 U.S.C. § 5104(e)(2)(G)     45 days’ incarceration          2 months’ home detention
Jason                                                               36 months’ probation            12 months’ probation
                                                                    60 hours’ community service     60 hours’ community service
                                                                    $500 restitution                $500 restitution
Sywak, William    1:21-CR-00494-RC    40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          4 month’s home detention
Michael                                                             36 months’ probation            24 months’ probation
                                                                    $500 restitution                60 hours’ community service
                                                                                                    $500 restitution
Laurens,          1:21-CR-00450-RC    40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          60 days’ home detention
Jonathan                                                            36 months’ probation            12 months’ probation
                                                                    $500 restitution                $742 fine
                                                                                                    $500 restitution
                                                                                                    60 hours’ community service
Cooke, Nolan      1:22-CR-00052-RCL   18 U.S.C. § 231(a)(3)         11 months’ incarceration        366 days’ incarceration
                                                                    36 months’ supervised release   36 months’ supervised release
                                                                    $2000 restitution               $2000 restitution
Barber, Eric      1:21-cr-00228-CRC   40 U.S.C. § 5104(e)(2)(G)     4 months’ incarceration         45 days’ incarceration
                                      22 D.C. Code 3212             36 months’ probation            24 months’ probation
                                                                    $552.95 restitution             $552.95 restitution
Gold, Simone      1:21-CR-00085-CRC   18 U.S.C. § 1752(a)(1)        3 months’ incarceration         60 days’ incarceration
                                                                    12 month’s supervised release   12 months’ supervised release
                                                                    $500 restitution                $9,500 fine
                                                                    60 hours’ community service     $500 restitution
Griffin, Cuoy     1:21-CR-00092-TNM   18 U.S.C. § 1752(a)(1)        60 days’ incarceration          14 days’ incarceration

                                                               22
                                                                      12 months’ supervised release   12 months’ supervised release
Stackhouse,        1:21-CR-00240-BAH   40 U.S.C. § 5104(e)(2)(G)      45 days’ incarceration          14 days’ intermittent incarceration as
Lawrence                                                              36 months’ probation            a condition of 36 months’ probation
                                                                      $500 restitution                $500 restitution
Baranyi,           1:21-CR-00062-JEB   18 U.S.C. § 1752 (a)(1)        4 months’ incarceration         90 days’ incarceration
Lawrence                                                              12 months’ supervised release   12 months’ year supervised release
                                                                      $500 restitution                $500 restitution
Evans, Derrick     1:21-CR-00337-RCL   18 U.S.C. § 231(a)(3)          3 months’ incarceration         3 months’ incarceration
                                                                      36 months’ supervised release   36 months’ supervised release
                                                                      $2000 restitution               $2000 restitution
                                                                                                      $2000 fine
Lucard, Carson     1:22-CR-00087-BAH   40 U.S.C. § 5104(e)(2)(G)      3 months’ incarceration         21 days’ intermittent confinement as
                                                                      36 months’ probation            a condition of 36 months’ probation
                                                                      $500 restitution                60 days’ home detention
                                                                                                      $500 restitution
Cunningham,        1:21-CR-00603-RC    40 U.S.C. § 5104(e)(2)(G)      14 days’ incarceration          3 months’ home detention
Christopher                                                           36 months’ probation            12 months’ probation
                                                                      $500 restitution                $1,113 fine
                                                                                                      $500 restitution
Prezlin,           1:21-CR-00694-TNM   40 U.S.C. § 5104(e)(2)(G)      14 days’ incarceration          10 months’ probation
Brandon                                                               36 months’ probation            $2,500 fine
                                                                      $500 restitution                120 hours’ community service
                                                                                                      $500 restitution
Weisbecker,        1:21-CR-00682-TFH   40 U.S.C. § 5104(e)(2)(G)      60 days’ incarceration          30 days’ intermittent confinement as
Philip                                                                36 months’ probation            a condition of 24 months’ probation
                                                                      $500 restitution                $2,000 fine
                                                                                                      $500 restitution
Sidorski, Dennis   1:21-CR-00048-ABJ   18 U.S.C. § 1752 (a)(2)        12 months’ incarceration        100 days’ incarceration
                                                                      12 months’ supervised release   12 months’ supervised release
                                                                      $500 restitution                50 hours’ community service
                                                                                                      $500 restitution
Bromley, Phillip   1:21-CR-00250-PLF   18 U.S.C. § 1752(a)(2)         12 months’ incarceration        90 days’ incarceration
                                                                      12 months’ supervised release   12 months’ supervised release
                                                                      $500 restitution                $4,000 fine
                                                                                                      $2,000 restitution
Revlett, Jordan    1:21-CR-00281-JEB   40 U.S.C. § 5104(e)(2)(G)      30 days’ incarceration          14 days’ incarceration

                                                                 23
                                                                     36 months’ probation            12 months’ probation
                                                                     $500 restitution                80 hours’ community service
                                                                                                     $500 restitution
Snow, Robert      1:22-CR-00030-TJK   40 U.S.C. § 5104(e)(2)(G)      14 days’ incarceration          12 months’ probation
                                                                     36 months’ probation            60 hours’ community service
                                                                     $500 restitution                $500 restitution
Torre, Benjamin   1:21-CR-00143-RC    40 U.S.C. § 5104(e)(2)(G)      14 days’ incarceration          12 months’ probation
                                                                     36 months’ probation            $1,113 fine
                                                                     $500 restitution                60 hours’ community service
                                                                                                     $500 restitution
Grace, Jeremey    1:21-CR-00492-JDM   18 U.S.C. § 1752 (a)(1)        60 days’ incarceration          21 days’ incarceration
                                                                     12 months’ supervised release   12 months’ supervised release
                                                                     60 hours’ community service     60 hours’ community service
                                                                     $500 restitution                $500 restitution
Getsinger, John   1:21-CR-00607-EGS   40 U.S.C. § 5104(e)(2)(G)      45 days’ incarceration          60 days’ incarceration
                                                                     36 months’ probation            36 months’ probation
                                                                     $500 restitution                100 hours’ community service
                                                                                                     $500 restitution
Getsinger,        1:21-CR-00607-EGS   40 U.S.C. § 5104(e)(2)(G)      45 days’ incarceration          60 days’ incarceration
Stacie                                                               36 months’ probation            36 months’ probation
                                                                     $500 restitution                100 hours’ community service
                                                                                                     $500 restitution
Suarez, Marissa   1:21-CR-00205-DLF   40 U.S.C. § 5104(e)(2)(G)      14 days’ incarceration          36 months’ probation
                                                                     36 months’ probation            60 hours’ community service
                                                                     $500 restitution                $2000 fine
                                                                                                     $500 restitution
Todisco,          1:21-CR-00205-DLF   40 U.S.C. § 5104(e)(2)(G)      14 days’ incarceration          36 months’ probation
Patricia                                                             36 months’ probation            60 hours’ community service
                                                                     $500 restitution                $2000 fine
                                                                                                     $500 restitution
Blair, David      1:21-CR-00186-CRC   18 U.S.C. § 231(a)(3)          8 months’ incarceration         5 months’ incarceration
                                                                     36 months’ supervised release   18 months’ supervised release
                                                                     $2000 restitution               $2,000 restitution
Griswold,         1:21-CR-00459-CRC   18 U.S.C. § 231(a)(3)          5 months’ incarceration         75 days’ incarceration
Andrew                                                               36 months’ supervised release   24 months’ supervised release
                                                                     $2,000 restitution              $2,000 restitution

                                                                24
Blakely, Kevin   1:21-CR-00356-EGS   40 U.S.C. § 5104(e)(2)(G)       4 months’ incarceration         120 days’ incarceration
                                                                     36 months’ probation            18 months’ probation
                                                                     $500 restitution                100 hours’ supervised release
                                                                                                     $500 restitution
Persick, Kerry   1:21-CR-00485-BAH   40 U.S.C. § 5104(e)(2)(G)       14 days’ incarceration          36 months’ probation
                                                                     36 months’ probation            90 days’ supervised release
                                                                     $500 restitution                $5,000 fine
                                                                                                     $500 restitution
Ticas, David     1:21-CR-00601-JDB   40 U.S.C. § 5104(e)(2)(G        36 months’ incarceration        14 days’ incarceration
                                                                     36 months’ probation            24 months’ probation
                                                                     60 hours’ community serivce     60 hours’ community service
                                                                     $500 restitution                $500 restitution
Lindsey, Terry   1:21-CR-00162-BAH   18 U.S.C. § 1752(a)(1)          12 months’ incarceration        5 months’ incarceration on the
                                     40 U.S.C. § 5104(e)(2)(D)       12 months’ supervised release   § 5104 counts to be served
                                     40 U.S.C. § 5104(e)(2)(G)       60 hours’ community service     concurrently
                                                                     $500 restitution                36 months’ probation on the § 1752
                                                                                                     count
                                                                                                     $500 restitution
Mattice, Cody    1:21-CR-00657-BAH   18 U.S.C. § 111(a)(1)           44 months’ incarceration        44 months’ incarceration
                                                                     36 months’ supervised release   36 months’ supervised release
                                                                     $2,000 restitution              $2,000 restitution
Mault, James     1:21-CR-00657-BAH   18 U.S.C. § 111(a)(1)           44 months’ incarceration        44 months’ incarceration
                                                                     36 months’ supervised release   36 months’ supervised release
                                                                     $2,000 restitution              $2,000 restitution
Bancroft, Dawn   1:21-CR-00271-ESG   40 U.S.C. § 5104(e)(2)(G)       60 day’s incarceration          60 day’s incarceration
                                                                     36 months’ probation            36 months’ probation
                                                                     60 hours’ community service     $500 restitution
                                                                     $500 restitition
Santos-Smith,    1:21-CR-00271-ESG   40 U.S.C. § 5104(e)(2)(G)       14 day’s incarceration          20 day’s incarceration
Diana                                                                36 months’ probation            36 months’ probation
                                                                     60 hours’ community service     $500 restitution
                                                                     $500 restitition
Buckler,         1:22-CR-00162-TNM   40 U.S.C. § 5104(e)(2)(G)       30 days’ incarceration          14 days’ home detention
Matthew                                                              36 months’ probation            24 months’ probation
                                                                     60 hours’ community service     60 hours’ community service
                                                                     $500 restitution                $500 restitution

                                                                25
Romero, Moises   1:21-CR-00677-TSC   18 U.S.C. § 231(a)(3)         11 months’ incarceration          One year and one day incarceration
                                                                   36 months’ supervised release     12 months’ supervised release
                                                                   $2000 restitution                 $2,000 restitution
Ponder, Mark     1:21-CR-00259-TSC   18 U.S.C. § 111(a)(1) and     60 months’ incarceration          63 months’ incarceration
                                     (b)                           36 months’ supervised release     36 months’ supervised release
                                                                   $2000 restitution                 $2000 restitution
                                                                                                     Mental health treatment
Bishai, Elliot   1:21-CR-00282-TSC   18 U.S.C. § 1752(a)(1)        30 days’ incarceration            14 days’ incarceration
                                                                   12 months’ supervised release     12 months’ supervised release
                                                                   60 hours’ community service       60 hours’ community service
                                                                   $500 restitution                  $500 restitution
Reffitt, Guy     1:21-CR-00032-DLF   18 U.S.C. § 231(a)(2)         180 months’ incarceration         87 months’ incarceration
                                     18 U.S.C. § 1512(c)(2)        3 years supervised release        3 years supervised release
                                     18 U.S.C. § 1752(a)(1)        $2000 restitution                 $2000 restitution
                                     18 U.S.C. § 231(a)(3)
                                     18 U.S.C. § 1512(a)(2)(C)
Caplinger,       1:21-CR-00342-PLF   40 U.S.C. § 5104(d)           90 days’ incarceration            35 days’ incarceration
Jeremiah                                                           36 months’ probation              24 months’ probation
                                                                   $500 restitution                  60 hours’ community service
                                                                                                     $500 restitution
Cavanaugh,       1:21-CR-00362-APM   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration            24 months’ probation
Andrew                                                             36 months’ probation              60 hours’ community service
                                                                   60 hours’ community service       $500 restitution
                                                                   $500 restitution
Baggott,         1:21-CR-00411-APM   18 U.S.C. § 1752(a)(2)        middle of sentencing guidelines   3 months’ incarceration
Matthew                                                            range                             12 months’ supervised release
                                                                   12 months’ supervised release     60 hours’ community service
                                                                   60 hours’ community service       $500 restitution
                                                                   $500 restitution
Willden, Ricky   1:21-CR-00423-RC    18 U.S.C. § 111(a)(1)         30 months’ incarceration          24 months’ incarceration
                                                                   36 months’ supervised release     36 months’ release
                                                                   $2000 restitution                 $2000 restitution
Hyland, Jason    1:21-CR-00050-CRC   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration            7 days’ incarceration
                                                                   36 months’ probation              $500 restitution
                                                                   $500 restitution                  $4,000 fine


                                                              26
Ortiz,            1:22-CR-00082-JMC   40 U.S.C. § 5104(e)(2)(G)     5 months’ incarceration            12 months’ probation
Christopher                                                         36 months’ probation               2 months’ Home Detention
                                                                    $500 restitution                   100 hours’ community service
                                                                                                       $500 Restitution
Homer, Lisa       1:22-CR-00238-TNM   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration             36 months’ probation
                                                                    36 months’ probation               $5,000 fine
                                                                    60 hours’ community service        60 hours’ community service
                                                                    $500 restitution                   $500 restitution
Betancur, Bryan   1:21-CR-00051-TJK   18 U.S.C. § 1752(a)(1)        6 months’ incarceration            4 months’ incarceration
                                                                    12 months’ supervised release      12 months’ supervised release
                                                                    $500 restitution                   $500 restitution
Larocca,          1:21-CR-00317-TSC   18 U.S.C. § 1752(a)(2)        3 months’ incarceration            60 days’ incarceration
Benjamin                                                            12 months’ supervised release      12 months’ supervised release
                                                                    $500 restitution                   $5,000 fine
                                                                                                       60 hours’ community service
                                                                                                       $500 restitution
Robertson,        1:21-CR-00034-CRC   18 U.S.C. § 1512(c)(2)        96 months’ incarceration           87 months’ incarceration
Thomas                                and 2                         3 years’ supervised release        36 months’ supervised release
                                      18 U.S.C. § 231(a)(3) and     $2,000 restitution                 $2,000 restitution
                                      2                             $100 special assessment for each
                                      18 U.S.C. § 1752(a)(1)        count of conviction
                                      and (b)(1)(A)
                                      18 U.S.C. § 1752(a)(2)
                                      and (b)(1)(A)
                                      40 U.S.C. § 5104(e)(2)(D)
Simon, Glen       1:21-CR-00346-BAH   18 U.S.C. § 1752(a)(2)        10 months’ incarceration           8 months’ incarceration
Mitchell                                                            12 months’ supervised release      12 months’ supervised release
                                                                    60 hours’ community service        $1,000 fine
                                                                    $500 restitution                   $500 restitution
Cameron, John     1:22-CR-00017-TFH   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration             30 days’ imprisonment as an
                                                                    36 months’ probation               intermittent confinement condition
                                                                    60 hours’ community service        of probation
                                                                    $500 restitution                   36 months’ probation
                                                                                                       $1,000 fine
                                                                                                       $500 restitution


                                                               27
Fracker, Jacob    1:21-CR-00034-CRC     18 U.S.C. § 371               6 months’ probation consistent   12 months’ probation
                                                                      with Zone B                      59 days’ home confinement
                                                                      3 years’ supervised release      120 hours’ community service
                                                                      $100 special assessment          $2,000 restitution
                                                                      $2,000 restitution

Morrissey,        1:21-CR-00660-RBW     40 U.S.C. § 5104(e)(2)(G)     14 days’ incarceration           45 days’ incarceration
Daniel                                                                36 months’ probation             36 months’ probation
                                                                      90 days’ home confinement        $2,500 fine
                                                                      60 hours’ community service      $500 restitution
                                                                      $500 restitution
Lazo, Kene        1:21-CR-00425-CRC     40 U.S.C. § 5104(e)(2)(G)     90 days’ incarceration           45 days’ incarceration
                                                                      36 months’ probation             $500 restitution
                                                                      60 hours’ community service
                                                                      $500 restitution
Knutson, Billy    1:22-CR-00031-FYP     18 U.S.C. § 1752(a)(1)        6 months’ incarceration          6 months’ incarceration
                                                                      12 months’ supervised release    12 months’ supervised release
                                                                      60 hours’ community service      $500 restitution
                                                                      $500 restitution
Carlton, Daniel   1:21-CR-00247-TFH     40 U.S.C. § 5104(e)(2)(G)     3 months’ incarceration          36 months’ supervised release
Jonathan                                                              36 months’ probation             $500 restitution
                                                                      60 hours’ community service
                                                                      $500 restitution
Richardson,       1:21-CR-00721-CKK     18 U.S.C. § 111(a)(1)         46 months’ incarceration         46 months’ incarceration
Howard                                                                3 years supervised release       36 months’ probation
                                                                      $2,000 restitution               $2,000 restitution
Pruitt, Joshua    1:21-CR-00023 – TJK   18 U.S.C. § 1512(c)(2)        60 months’ incarceration         55 months’ incarceration
                                        and (2)                       36 months’ supervised release    36 months’ supervised release
                                                                      $2,000 restitution               $2,000 restitution
Thurlow, Steven   1:21-CR-00615 – DLF   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration           24 months’ probation
                                                                      36 months’ probation             80 hours’ community service
                                                                      60 hours’ community service      $500 restitution
                                                                      $500 restitution
Cortez,           1:21-CR-00317 – TSC   18 U.S.C. § 231(a)(3)         4 months’ incarceration          4 months’ incarceration
Christian Glen                                                        36 months’ supervised release    36 months’ supervised release
                                                                      $2,000 restitution               60 hours’ community service

                                                                 28
                                                                                                       $2,000 restitution
Webster,          1:21-CR-00208 –       18 U.S.C. § 111(a)(1), (b);    210 months’ incarceration       120 months’ incarceration
Thomas            APM                   18 U.S.C. § 231(a)(3);         36 months’ supervised release   36 months’ supervised release
                                        18 U.S.C. § 1752(a)(1),        $2,060 restitution              $2,060 restitution
                                        (b)(1)(A),
                                        18 U.S.C. § 1752(a)(2),
                                        (b)(1)(A);
                                        18 U.S.C. § 1752(a)(4),
                                        (b)(1)(A);
                                        40 U.S.C. § 5104(e)(2)(F)
Michetti,         1:21-cr-00232 – CRC   18 U.S.C. § 1512(c)(2)         18 months’ incarceration        9 months’ incarceration
Richard                                                                36 months’ supervised release   24 months’ supervised release
                                                                       $2,000 restitution              $2,000 restitution
Watson, Sean      1:21-CR-00422 –       40 U.S.C. § 5104(e)(2)(G)      14 days’ incarceration          7 days’ incarceration
                  APM                                                  36 months’ probations           24 months’ probation
                                                                       60 hours’ community service     60 hours’ community service
                                                                       $500 restitution                $500 restitution
McNicoll, Lois    1:21-CR-00468 – DLF   40 U.S.C. § 5104(e)(2)(G)      14 days’ incarceration          24 months’ probation
Lynn                                                                   36 months’ probation            80 hours’ community service
                                                                       60 hours’ community service     $500 restitution
                                                                       $500 restitution
Schwartzberg,     1:21-CR-00338 – TFH   40 U.S.C. § 5104(e)(2)(G)      120 days’ incarceration         45 days’ incarceration
Dovid                                                                  36 months’ probations           $500 restitution
                                                                       60 hours’ community service
                                                                       $500 restitution
Youngers,         1:21-CR-00640 – TFH   40 U.S.C. § 5104(e)(2)(G)      30 days’ incarceration          36 months’ probation
Darrell                                                                36 months’ probation            $1,000 fine
                                                                       60 hours’ community service     $500 restitution
                                                                       $500 restitution
Vollan, Cody      1:22-CR-00044-APM     40 U.S.C. § 5104(e)(2)(G)      14 days’ incarceration          12 months’ probation
                                                                       36 months’ probation            60 hours’ community service
                                                                       60 hours’ community service     $500 restitution
                                                                       $500 restitution
Carollo, Anthoy   1:22-CR-00044-APM     40 U.S.C. § 5104(e)(2)(G)      14 days’ incarceration          12 months’ probation
                                                                       36 months’ probation            60 hours’ community service
                                                                       60 hours’ community service     $500 restitution

                                                                  29
                                                                     $500 restitution
Carollo,            1:22-CR-00044-APM   40 U.S.C. § 5104(e)(2)(G)    45 days’ incarceration          21 days’ incarceration
Jeremiah                                                             36 months’ probation            12 months’ probation
                                                                     60 hours’ community service     60 hours’ community service
                                                                     $500 restitution                $500 restitution
Bratjan, Frank      1:22-CR-00285-TNM   40 U.S.C. § 5104(e)(2)(G)    14 days’ incarceration          6 months’ probation
                                                                     36 months’ probation            $1500 fine
                                                                     60 days’ community service      $500 restitution
                                                                     $500 restitution
Ferreira, Leticia   1:22-CR-00210-THC   40 U.S.C. § 5104(e)(2)(G)    30 days’ incarceration          3 months’ home detention
                                                                     36 months’ probation            12 months’ probation
                                                                     60 hours’ community service     $371 fine
                                                                     $500 restitution                60 hours’ community service
                                                                                                     $500 restitution
Connor, Francis     1:21-CR-00586-RC    40 U.S.C. § 5104(e)(2)(G)    45 days’ incarceration          12 months’ probation
                                                                     36 months’ probation            $371 fine
                                                                     $500 probation                  60 hours’ community service
                                                                                                     $500 probation
Ferrigno,           1:21-CR-00586-RC    40 U.S.C. § 5104(e)(2)(G)    30 days’ incarceration          12 months’ probation
Antonio                                                              36 months’ probation            $371 fine
                                                                     $500 restitution
Lunyk, Anton        1:21-CR-00586-RC    40 U.S.C. § 5104(e)(2)(G)    20 days’ incarceration          12 months’ probation
                                                                     36 months’ probation            $742 fine
                                                                     $500 restitution                60 hours’ community service
                                                                                                     $500 restitution
Packer, Robert      1:21-CR-00103-CJN   40 U.S.C. § 5104(e)(2)(G)    75 days’ incarceration          75 days’ incarceration
                                                                     36 months’ probation            $500 restitution
                                                                     $500 restitution
Williams,           1:21-CR-00377-BAH   18 U.S.C. § 1512(c)(2)       64 month’s incarceration        60 month’s incarceration
Anthony                                 40 U.S.C. § 5104(e)(2)(D)    36 months’ supervised release   36 months’ supervised release
                                        and (G)                      $2000 restitution               $5000 fine
                                        18 U.S.C. § 1752(a)(1)                                       $2000 restitution
                                        and (2)
Vincent, Reva       1:22-CR-00051 -     40 U.S.C. § 5104(e)(2)(G)    30 days’ incarceration          24 months’ probation
                    TNM                                              36 months’ probation            60 hours’ community service
                                                                     60 hours’ community service     $1,500 fine

                                                                30
                                                                        $500 restitution                $500 restitution
Lyon, Robert      1:21-CR-00161 -       18 U.S.C. § 1752(a)(2)          90 days’ incarceration          40 days’ incarceration
                  RBW                   18 U.S.C. § 641                 12 months’ supervised release   12 months’ supervised release
                                                                        $2,000 restitution              $1,000 fine
                                                                                                        $2,000 restitution
Ayres, Stephen    1:21-CR-00156 - JDB   18 U.S.C. § 1752(a)(2)          60 days’ incarceration          24 months’ probation
                                                                        12 months’ supervised release   100 hours’ community service
                                                                        60 hours’ community service     $500 restitution
                                                                        $500 restitution
Hale-Cusanelli,   1:21-CR-00037 -       18 U.S.C. § 1512(c)(2)          78 months’ incarceration        48 months’ incarceration
Tim               TNM                   and 2                           36 months’ supervised release   36 months’ supervised release
                                        18 U.S.C. § 1752(a)(1)          $2,000 restitution              $2,000 restitution
                                        18 U.S.C. § 1752(a)(2)
                                        40 U.S.C. § 5104(e)(2)(D

                                        40 U.S.C. § 5104(e)(2)(G)
Hamner,           1:21-CR-00689 - ABJ   18 U.S.C. § 231(a)(3) and       60 months’ incarceration        30 months’ incarceration
Thomas                                  2                               36 months’ supervised release   36 months’ supervised release
                                                                        $2,000 restitution              200 hours’ community service
                                                                                                        $2,000 restitution
Santillan, Blas   1:22-CR-00032 – FYP   40 U.S.C. § 5104(e)(2)(G)       45 days’ incarceration          45 days’ incarceration
                                                                        36 months’ probation            36 months’ probation
                                                                        60 hours’ community service     60 hours’ community service
                                                                        $500 restitution                $500 restitution
Neefe, Marshall   1:21-CR-00567 - RCL   18 U.S.C. § 1512(k)             46 months’ incarceration        41 months’ incarceration
                                        18 U.S.C. § 111(a)(1)           36 months’ supervised release   36 months’ supervised release
                                                                        $2,000 restitution              $2,000 restitution
Smith, Charles    1:21-CR-00567 – RCL 18 U.S.C. § 1512(k)               44 months’ incarceration        41 months’ incarceration
Bradford                              18 U.S.C. § 111(a)(1, 2)          36 months’ supervised release   36 months’ supervised release
                                                                        $2,000 restitution              $2,000 restitution
Brannan, Cory     1:21-CR-00637 – TSC   40 U.S.C. § 5104(e)(2)(G)       30 days’ incarceration          30 days’ incarceration
                                                                        36 months’ probation            24 months’ supervised release
                                                                        60 hours’ community service     $500 restitution
                                                                        $500 restitution
Warmus, Daniel    1:21-CR-00417 - PLF   40 U.S.C. § 5104(e)(2)(G)       30 days’ incarceration          45 days’ incarceration
                                                                        36 months’ probation            24 months’ probation

                                                                   31
                                                                       60 hours’ community service      60 hours’ community service
                                                                       $500 restitution                 $500 restitution
Young, Kyle         1:21-CR-00291 - ABJ   18 U.S.C. § 111(a)(1)        86 months’ incarceration         86 months’ incarceration
                                                                       36 months’ supervised release    36 months’ supervised release
                                                                       $2,000 restitution               100 hours’ community service
                                                                                                        $2,000 restitution
Denney, Lucas       1:22-CR-00070 -       18 U.S.C. § 111b             A term of incarceration in the   52 months’ incarceration
                    RDM                                                middle of the guideline range    36 months’ supervised release
                                                                       36 months’ supervised release
Rader, Kenneth      1:22-CR-00057 - RCL   40 U.S.C. § 5104(e)(2)(G)    60 days’ incarceration           90 days’ incarceration
                                                                       36 months’ probation             36 months’ probation
                                                                       60 hours’ community service      $500 restitution
                                                                       $500 restitution
Hentschel, Cara     1:21-CR-00667 – FYP   40 U.S.C. § 5104(e)(2)(G)    3 months’ incarceration          36 months’ probation
                                                                       36 months’ probation             $500 restitution
                                                                       60 hours’ community service
                                                                       $500 restitution
Pryer, Mahailya     1:21-CR-00667 – FYP   40 U.S.C. § 5104(e)(2)(G)    2 months’ incarceration          45 days’ incarceration
                                                                       36 months’ probation             36 months’ probation
                                                                       60 hours’ community service      $500 restitution
                                                                       $500 restitution
Mazzio,             1:22-CR-00214 - RCL   40 U.S.C. § 5104(e)(2)(G)    60 days’ incarceration           60 days’ incarceration
Anthony                                                                36 months’ probation             36 months’ probation
                                                                       60 hours’ community service      $500 restitution
                                                                       $500 restitution
Ferreira, Leticia   1:22-CR-00210 - TSC   40 U.S.C. § 5104(e)(2)(G)    30 days’ incarceration           14 days’ incarceration
                                                                       36 months’ probation             36 months’ probation
                                                                       60 hours’ community service      60 hours’ community service
                                                                       $500 restitution                 $500 restitution
Dropkin,            1:21-CR-00734 – JEB   18 U.S.C. § 1752(a)(1)       30 days’ incarceration           30 days’ incarceration
Lawrence                                  18 U.S.C. § 1752(a)(2)       36 months’ probation             12 months’ supervised release
                                          40 U.S.C. § 5104(e)(2)(D)    60 hours’ community service      $500 restitution
                                          40 U.S.C. § 5104(e)(2)(G)    $500 restitution
Fisher, Samuel      1:21-CR-00142 – CJN   18 U.S.C. § 1752(a)(1)       120 days’ incarceration          120 days’ incarceration
                                                                       12 months’ supervised release    12 months’ supervised release
                                                                       60 hours’ community service      60 hours’ community service

                                                                  32
                                                                      $500 restitution                $500 restitution
Galloway,         1:22-CR-00012 –       40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          30 days’ incarceration
Andrew            CRC                                                 36 months’ probation            $1,000 fine
                                                                      $500 restitution                $500 restitution
Munn, Dawn        1:21-CR-00474 - BAH   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          36 months’ probation with
                                                                      36 months’ probation            conditions that include 90 days’
                                                                      60 hours’ community service     home confinement and 14 days’
                                                                      $500 restitution                intermittent confinement
                                                                                                      60 hours’ community service
                                                                                                      $500 restitution
Munn, Joshua      1:21-CR-00474 - BAH   40 U.S.C. § 5104(e)(2)(G)     21 days’ incarceration          36 months’ probation
                                                                      36 months’ probation            60 hours’ community service
                                                                      60 hours’ community service     $500 restitution
                                                                      $500 restitution
Munn, Kayli       1:21-CR-00474 - BAH   40 U.S.C. § 5104(e)(2)(G)     21 days’ incarceration          36 months’ probation
                                                                      36 months’ probation            60 hours’ community service
                                                                      60 hours’ community service     $500 restitution
                                                                      $500 restitution
Munn, Kristi      1:21-CR-00474 - BAH   40 U.S.C. § 5104(e)(2)(G)     21 days’ incarceration          90 days’ home detention
                                                                      36 months’ probation            36 months’ probation
                                                                      60 hours’ community service     60 hours’ community service
                                                                      $500 restitution                $500 restitution
Munn, Thomas      1:21-CR-00474 - BAH   40 U.S.C. § 5104(e)(2)(G)     36 days’ incarceration          36 months’ probation with
                                                                      36 months’ probation            conditions that include 90 days’
                                                                      60 hours’ community service     home confinement and 14 days’
                                                                      $500 restitution                intermittent confinement
                                                                                                      60 hours’ community service
                                                                                                      $500 restitution
Suleski, Ryan     1:21-CR-00376 -       18 U.S.C. § 1752(a)(1)        90 days’ incarceration          60 days’ incarceration
                  RDM                   18: U.S.C § 641               12 months’ supervised release   60 hours’ community service
                                                                      60 hours’ community service     $500 restitution
                                                                      $500 restitution
Valadez, Rafael   1:21-CR-00695 - JEB   40 U.S.C. § 5104(e)(2)(G)     30 days’ incarceration          30 days’ incarceration
                                                                      36 months’ probation            $500 restitution
                                                                      60 hours’ community service
                                                                      $500 restitution

                                                                 33
Ryals, Jerry       1:21-CR-00244 –       18 U.S.C. § 231(a)(3)         6 months’ incarceration         9 months’ incarceration
                   CKK                                                 36 months’ supervised release   36 months’ supervised release
                                                                       $2,000 restitution              $2,000 restitution
Secor, Christian   1:21-CR-00157 -       18 U.S.C. § 1512(c)(2)        57 months’ incarceration        42 months’ incarceration
                   TNM                                                 36 months’ supervised release   36 months’ supervised release
                                                                       $2,000 restitution              $2,000 restitution
Fairchild, Jr.,    1:21-CR-00551 - TFH   18 U.S.C. § 231(a)(3)         11 months’ incarceration        6 months’ incarceration
Robert                                                                 36 months’ supervised release   $2,000 restitution
                                                                       $2,000 restitution
Munger, Jeffrey    1:22-CR-00123 -       40 U.S.C. § 5104(e)(2)(G)     36 months’ probation            30 months’ probation
                   RDM                                                 4 months’ home detention        Curfew Restriction of 7 a.m. to 7
                                                                       60 hours’ community service     p.m.
                                                                       $500 restitution                90 days’ location monitoring
                                                                                                       60 hours’ community service
                                                                                                       $500 restitution
Byerly, Alan       1:21-CR-00527 –       18 U.S.C. § 111(a)(1)         46 months’ incarceration        34 months’ incarceration
                   RDM                   18 U.S.C. § 113(a)(4);        36 months’ supervised release   36 months supervised release
                                                                       $2,000 restitution              $2,000 restitution
Bledsoe,           1:21-CR-00204 –       18 U.S.C. § 1512(c)(2)        70 months’ incarceration        48 months’ incarceration
Matthew            BAH                   18 U.S.C. § 1752(a)(1)        36 months’ supervised release   36 months’ supervised release
                                         18 U.S.C. § 1752(a)(2)        $2,000 restitution              $2,000 fine
                                         40 U.S.C. § 5104(e)(2)(D)                                     $2,000 restitution
                                         40 U.S.C. § 5104(e)(2)(G)
Mazza, Andrew      1:21-CR-00736 – JEB   18 U.S.C. § 111(a)(1) and     78 months’ incarceration        60 months’ incarceration
Mark                                     (b);                          36 months’ supervised release   36 months’ supervised release
                                         22 D.C. Code § 4504           $2,150 restitution              $2,000 restitution
Seefried, Hunter   1:21-CR-00287 –       18 U.S.C. § 1512(c)(2)        64 months’ incarceration        24 months’ incarceration
                   TNM                   and 2                         36 months’ supervised release   12 months’ supervised release
                                         18 U.S.C. § 1752(a)(1)        $2,000 restitution              $2,000 restitution
                                         18 U.S.C. § 1752(a)(2)
                                         40 U.S.C. § 5104(e)(2)(D)
                                         40 U.S.C. § 5104(e)(2)(G)
Rodean,            1:21-CR-00057 -       18 U.S.C. § 1361;             57 months’ incarceration        5 years’ probation, including 240
Nicholas           TNM                   18 U.S.C. § 1752(a)(1);       36 months’ supervised release   days’ of home detention and location
                                         18 U.S.C. § 1752(a)(2);       $2,048 restitution              monitoring with internet use
                                         18 U.S.C. § 1752(a)(4);                                       restrictions.

                                                                  34
                                          40 U.S.C. §
                                          5104(e)(2)(D);
                                          40 U.S.C. § 5104(e)(2)(F);
                                          40 U.S.C. § 5104(e)(2)(G)
Head,               1:21-CR-00291 – ABJ   18 U.S.C. § 111(a)(1)            96 months’ incarceration        90 months’ incarceration
Albuquerque                                                                36 months’ supervised release   36 months’ supervised release
Cosper                                                                     $2,000 restitution              $2,000 restitution
Priola, Christine   1:22-CR-00242 - TSC   18 U.S.C. § 1512(c)(2)(2)        18 months’ incarceration        15 months’ incarceration
                                                                           36 months’ supervised release   12 months’ supervised release
                                                                           $2,000 restitution              $2,000 restitution
Mels, James         1:21-CR-00184 –       18 U.S.C. § 1752(a)(1)           30 days’ incarceration          36 months’ probation, with a 90-day
Allen               BAH                                                    12 months’ supervised release   home confinement condition
                                                                           60 hours’ community service     60 hours’ community service
                                                                           $500 restitution                $500 restitution




                                                                      35
